                                         Case 2:19-cv-08946-DSF-JPR Document 55-3 Filed 06/01/21 Page 1 of 2 Page ID #:577




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                                                         8                         UNITED STATES DISTRICT COURT
  LLP
                   300 SOUTH GRAND AVENUE, SUITE 1300




                                                         9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      LOS ANGELES, CALIFORNIA 90071
HURRELL CANTRALL
                         TELEPHONE (213) 426-2000




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                                                        11 KENNETH EARL MOORE,                       CASE NO. 2:19-cv-08946-DSF(JPRx)
                                                        12              Plaintiff,                   [Assigned to Judge Dale S. Fischer,
                                                                                                     Courtroom “7D”]
                                                        13        v.
                                                                                                     [PROPOSED] ORDER GRANTING
                                                        14 CERRITOS, DEPUTY SHERIFF, LOS             DEFENDANTS SERGEANT INDIA
                                                           ANGELES COUNTY SHERIFF                    INEZ AND DEPUTY CERRITOS’
                                                        15 DEPARTMENT, and INEZ,                     JOINT MOTION TO DISMISS FOR
                                                           SERGEANT, LOS ANGELES                     FAILURE TO PROSECUTE
                                                        16 COUNTY SHERIFF DEPARTMENT,
                                                                                                     Date: July 12, 2021
                                                        17              Defendants.                  Time: 1:30 p.m.
                                                                                                     Courtroom: “7D”
                                                        18
                                                        19                                           Action Filed:   10/17/19
                                                                                                     FAC Filed:      01/13/20
                                                        20                                           SAC Filed:      10/26/20
                                                                                                     TAC Filed:      02/07/21
                                                        21
                                                        22 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                        23        Defendants SERGEANT INDIA INEZ and DEPUTY JESSE CERRITOS’
                                                        24 (collectively, “Defendants”) Joint Motion to Dismiss for Failure to Prosecute came
                                                        25 on regularly for hearing on July 12, 2021, at 1:30 p.m. in Courtroom “7D” of the
                                                        26 above-entitled Court.
                                                        27        After full consideration of the moving and supporting papers, the opposing
                                                        28 papers, oral argument of counsel, and all matters upon which the Court may take
                                         Case 2:19-cv-08946-DSF-JPR Document 55-3 Filed 06/01/21 Page 2 of 2 Page ID #:578




                                                         1 judicial notice, the Court hereby grants said motion, and hereby dismisses Plaintiff’s
                                                         2 action against Defendants with prejudice for Plaintiff’s failure to prosecute.
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                                                         4        IT IS SO ORDERED.
                                                         5
                                                         6 DATED: ____________, 2021
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                                                                                                   UNITED STATES DISTRICT COURT
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  LLP




                                                                                                   JUDGE DALE S. FISCHER
                   300 SOUTH GRAND AVENUE, SUITE 1300
                      LOS ANGELES, CALIFORNIA 90071




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HURRELL CANTRALL
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